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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

JAMES GIRLEY                                                                          PLAINTIFF
ADC #112981

VS.                                    4:20-cv-01173-BRW-JJV

SHERI J. FLYNN                                                                      DEFENDANT

                                             ORDER

       I have reviewed the Proposed Findings and Recommended Disposition submitted by

United States Magistrate Judge Joe J. Volpe. After carefully considering Mr. Girley’s timely

filed objections and making a de novo review of the record, I approve and adopt the Proposed

Findings and Recommended Disposition in all respects.

       Accordingly, Plaintiff’s Complaint (Doc. No. 2) is DISMISSED without prejudice for

failure to state a claim upon which relief may be granted.

       Dismissal of this action counts as a “strike” for purposes of 28 U.S.C. § 1915(g).1

       I certify, pursuant to 28 U.S.C. § 1915(a)(3), that an in forma pauperis appeal from any

Order adopting these recommendations and the accompanying Judgment would not be taken in

good faith.

       IT IS SO ORDERED this 20th day of October, 2020.



                                                     Billy Roy Wilson__________________
                                                     UNITED STATES DISTRICT JUDGE




1
  Title 28 U.S.C. § 1915(g) provides as follows: “In no event shall a prisoner bring a civil action
or appeal a judgment in a civil action or proceeding under this section if the prisoner has, on 3 or
more prior occasions, while incarcerated or detained in any facility, brought an action or appeal in
a court of the United States that was dismissed on the grounds that it is frivolous, malicious, or
fails to state a claim upon which relief may be granted, unless the prisoner is under imminent
danger of serious physical injury.”
